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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


LATASHA C. TENNIAL,                                )
                                                   )
     Appellant,                                    )
                                                   )
v.                                                 )       Case No. 2:19-cv-02688-JTF-tmp
                                                   )
REI NATION LLC,                                    )
                                                   )
     Appellee.                                     )
                                                   )


                                ORDER TO SHOW CAUSE


        Before the Court is Appellee REI Nation, LLC’s Motions to Dismiss Appeal, filed on

October 18, 2019. (ECF No. 4.) Appellant Latasha Tennial had until November 15, 2019 to file

a response. See LR 12.1(b) (“A party opposing a motion to dismiss must file a response within 28

days after the motion is served.”). However, no response has been filed. The Court, therefore,

enters this Order to Show Cause. Appellant is ORDERED to show cause why the Court should

not grant Appellee’s Motions to Dismiss. Appellant has until the end of business on February 7,

2020 to respond.

        IT IS SO ORDERED this 27th day of January 2020.


                                                   s/ John T. Fowlkes, Jr.
                                                   JOHN T. FOWLKES, JR.
                                                   UNITED STATES DISTRICT JUDGE
